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                                                 June 18, 2019

 VIA ELECTRONIC FILING
 Hon. J. Paul Oetken
 United States District Judge
 Thurgood Marshall Courthouse
 United States Courthouse
 40 Foley Square
 New York, NY 10007-1312

Re:      DCR Marketing, Inc., et al. v. Josephine Lee Pereira, 19-cv-03249

Dear Judge Oetken:

        This law firm represents defendant Josephine Lee Pereira in the above-referenced matter.
As permitted by Rule 3.D.ii of this Court’s Individual Practices in Civil Cases, this letter will
advise the Court that Pereira elects to apply her previously-filed motion to dismiss (ECF # 17-
19) to Plaintiffs’ First Amended Complaint dated June 13, 2019 (ECF # 21), effective as of
today’s date. Pereira understands that all parties will file opposition and reply papers within the
time permitted by the Federal Rules of Civil Procedure and Local Civil Rules, namely 14 and 21
days from today, respectively. Finally, Pereira respectfully requests the opportunity to present
oral argument on this motion should the Court so desire.

                                                       Respectfully Submitted,

                                                       GUZOV, LLC


                                                       By: ____________________
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cc: Michael Brett, Esq. (via electronic filing)




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